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 7
                                   UNITED STATES DISTRICT COURT
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                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES,                                     Case No. 2:12-CR-00025 MCE
11
                    Plaintiff,                          STIPULATION BETWEEN STANCIL
12                                                      ENTERPRISES, INC. AND THE UNITED
            v.                                          STATES REGARDING SENTENCING
13
     STANCIL ENTERPRISES, INC.,
14
                    Defendant.
15

16
            Stancil Enterprises, Inc. wishes to proceed to sentencing as expeditiously as possible in
17
     this matter and for that purpose, Stancil Enterprises, Inc. and the Government (jointly, the
18
     “Parties”), by and through their respective counsel enter into the following stipulations:
19
                 1. Stancil Enterprises, Inc. will take all necessary steps to waive its rights and
20
                    interests in a Presentence Investigation and Presentence Investigation Report.
21
                 2. The Parties agree that the following Sentencing Guidelines factors apply:
22
                            a. Base Offense Level:          6 (USSG 2S1.3(a)(6))
23
                            b. Loss Adjustments:            +14 (USSG 2S1.3(a)(6), 2B1.1)
24
                            c. Other Adjustments:           +2 (USSG 2S1.3(b)(1)),
25
                                                            +2 (USSG 2S1.3(b)(2))
26
                            d. Adjusted Offense Level: 24
27
     ///
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 1          3.      The Plea and Global Resolution Agreement requires Stancil Enterprises, Inc. to
 2   cooperate fully in the Presentencing Investigation to obtain a full 3-level acceptance of
 3   responsibility reduction. On the understanding that Stancil Enterprises, Inc. will validly waive its
 4   rights and interests in a Presentence Investigation and Report, will effect transfer of the
 5   previously seized funds to the Government as set forth in the plea agreement, and will deposit
 6   with the Court the remaining forfeiture amount as well as the full amount of the maximum fine
 7   under Title 18, United States Code § 371 ($500,000), the Government is willing to waive the
 8   prerequisite of participation in the Presentence Investigation (and only that prerequisite). Should
 9   a Presentence Investigation and Report become necessary for any reason, Stancil Enterprises,
10   Inc.’s cooperation in the Presentence Investigation will be necessary to obtain the full 3-level
11   decrease contemplated by the plea and global resolution agreement. Nonetheless, the Parties
12   anticipate that the Presentence Investigation will be unnecessary and on that basis a 3-level
13   reduction under the Guidelines for acceptance of responsibility will apply, resulting in a final
14   Offense Level of 21.
15          4.      Based on the above stipulations and understandings, the Parties agree that pursuant
16   to the United States Sentencing Guidelines, and an offense level of 21 with a criminal history
17   category of I, the available sentencing factors are as follows:
18                  a.      Forfeiture of all structured funds, to wit, the sum of $428,589.30;
19                  b.      Special assessment of $400; and
20                  c.      Fine of up to $910,000 (although the statutory maximum is $500,000).
21          5.      Pursuant to the plea and global resolution agreement, the Parties will not be
22   arguing in support of other Sentencing Guideline factors or against those stipulated to here, and
23   moreover will not be arguing any of the factors of Title 18, United States Code section 3553(a).
24   Stancil Enterprises, Inc., however, wishes to argue that the forfeiture sum of $428,589.30 plus an
25   additional fine amount set forth in Stancil Enterprises, Inc., opening brief to be filed is sufficient,
26   but not greater than necessary, to comply with the purposes this Court sentencing discretion. The
27   Government wishes to oppose defendant’s argument.
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 1   The Parties agree to submit briefing to the Court regarding this issue on the following schedule:
 2   Stancil Enterprises, Inc. opening brief to be filed on February 25, 2012; Government’s response
 3   to be submitted by close of business on March 1, 2012; Stancil Enterprises, Inc. reply to be
 4   submitted by 4:00 p.m. on Tuesday, March 5. Sentencing shall remain as set on March 8, 2012,
 5   at 9:00 a.m.
 6
     DATED: February 23, 2012                               BENJAMIN B. WAGNER
 7                                                          United States Attorney
 8
                                                  By:
 9                                                          /s/ Jean M. Hobler
10                                                          JEAN M. HOBLER
                                                            Assistant United States Attorney
11

12                                                      DONALD H. HELLER
                                                        A Law Corporation
13
     Dated: February 28, 2012                           /s/ Donald H. Heller
14                                                      DONALD H. HELLER
15                                                      Attorney for Defendants
                                                        Stancil Enterprises, Inc. and Joseph Stancil
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                                                                     ORDER
 1
                               Good cause having been shown, and pursuant to the stipulation of the parties, the Court
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     orders that:
 3
                               1.   Stancil Enterprises, Inc.’s sentencing memo in this matter shall be filed on February
 4
                                    25, 2012;
 5
                               2.   The Government’s response shall be filed by 5:00 p.m. on March 1, 2012;
 6
                               3.   Stancil Enterprises, Inc. reply shall be filed by 4:00 p.m. on Tuesday, March 5.
 7
                               4.   Sentencing shall remain as set on March 8, 2012, at 9:00 a.m.
 8
                               IT IS SO ORDERED.
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10
     Dated: February 28, 2012
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                                                                 __________________________________
12                                                               MORRISON C. ENGLAND, JR
                                                                 UNITED STATES DISTRICT JUDGE
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     DEAC_Signatu re-END:




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